Case 1:21-cr-00265-PKC Document 227

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VIA ECF

Honorable Pamela K. Chen
United States District Judge
United States District Court for the
Eastern District of New York

225 Cadman Plaza East

Brooklyn, New York 11201

Re: | United States v. McMahon, et al.
Docket No. 21-265

Dear Honorable Pamela K. Chen:

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May 26, 2023

As you know, we are the counsels for the defendant, Yong Zhu. We are writing to join
the request made by Defendant Michael MaMahon’s counsel’s letter application dated May 25,

2023, (ECF Filing Document# 224).

The Court shall not enter an Order to preclude the introduction of the Civil action
pending in the Superior Court of New Jersey with Index No.# ESX-L-002889-18 at this time,
because this civil lawsuit provides certain exculpatory evidence that substantiates Defendant
Yong Zhu’s defense that he was asked to find the person for the purpose to collect a private debt
in the Untied States. Whether or not Defendant Yong Zhu’s defense to collect a private debt or
carries an governmental function is for the jury to decide.

Should you have any question, feel free to contact the undersigned.

Very truly yours,

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Kevin K. Tung
